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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

JAZZ PHARMACEUTICALS, INC.,     )
                                )
               Plaintiff,       )
                                )
       v.                       )        C.A. No. 21-691 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

JAZZ PHARMACEUTICALS, INC. and  )
JAZZ PHARMACEUTICALS IRELAND    )
LIMITED,                        )
                                )
               Plaintiffs,      )
                                )        C.A. No. 21-1138 (GBW)
       v.                       )
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

JAZZ PHARMACEUTICALS, INC. and  )
JAZZ PHARMACEUTICALS IRELAND    )
LIMITED,                        )
                                )
               Plaintiffs,      )
                                )
       v.                       )        C.A. No. 21-1594 (GBW)
                                )
AVADEL CNS PHARMACEUTICALS LLC, )
                                )
               Defendant.       )

 STIPULATION OF INFRINGEMENT REGARDING CLAIM 24 OF U.S. PATENT NO.
                            11,147,782
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       WHEREAS, Plaintiffs Jazz Pharmaceuticals, Inc. and Jazz Pharmaceuticals Ireland

Limited (collectively, “Jazz”) asserted claims 1-24 of U.S. Patent No. 11,147,782 (“the ʼ782

Patent”) against Defendant Avadel CNS Pharmaceuticals (“Avadel”) in the above-captioned

matter (see C.A. No. 21-1594 at D.I. 1);

       WHEREAS, and solely for purposes of streamlining the issues for trial, Jazz informed

Avadel on January 31, 2024 that it would only be asserting claim 24 of the ʼ782 Patent at trial in

the above-captioned matter (in addition to two claims of U.S. Patent No. 10,758,488 (nos. 7 and

11), and that Jazz had withdrawn all other previously asserted claims;

       WHEREAS, Avadel confirmed on February 5, 2024 that it “does not dispute infringement”

of the sole asserted claim of the ʼ782 patent;

       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by Jazz and Avadel

that Avadel’s manufacture, use, offers for sale, sales, and/or importation of Avadel’s Lumryz™

drug product infringes claim 24 of the ʼ782 patent pursuant to 35 U.S.C. § 271(a), to the extent

claim 24 of the ’782 patent is found not to be invalid or unenforceable.1




       1
          This stipulation does not affect Avadel’s ability to present any of its previously-disclosed
invalidity defenses, as limited on February 5, 2024 per the parties’ agreement, to claim 24 of the
ʼ782 patent.
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 MORRIS, NICHOLS, ARSHT & TUNNELL LLP        MCCARTER & ENGLISH, LLP

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 Attorneys for Plaintiffs                    Attorneys for Defendant

 February 23, 2024




                SO ORDERED this ___ day of _________________, 2024.



                                                 UNITED STATES DISTRICT JUDGE
